Case 2:05-cv-04182-SRD-JCW Document 3639-3 Filed 04/02/07 Page 1of1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES

* CIVIL ACTION
CONSOLIDATED LITIGATION * 05-4182
PERTAINS TO: * SECTION “K” (2)
Williams, C.A. No. 06-10714 *

ee ie 3 oh oe oft oft a fe ait of  ofe a of ake ofc fe of feof fe okt eof os oft ois ofc oie oe fe oe a aie aft akc ok fe oe le oe ake ok ok ok ok a ok oie ok oc fe oe a ae ae oie ok ake ake ake ake ak ok
ORDER
Considering the foregoing Motion to Enroll Additional Counsel;
IT IS ORDERED that Margaret E. Madere, Louisiana Bar Roll Number 28666, be and

hereby is enrolled as additional counsel of record in the above entitled and numbered matter.

New Orleans, Louisiana this ___ day of March, 2007.

JUDGE VANCE
